                    IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                            Civil Action No.: 1:17cv932


KIMBERLY CASH, DANNY CASH,
GRETTA ELLER, EMILY CASH,
TESS STRYK, KATE JENKINS-
SULLIVAN, LAURA ADAIR,
ALLISON HEWITT, NINA TROY and
TARYN MCFADDEN, individually and
CAITLYN COUNCILMAN, SOMMER
FANNEY, DARBY KOZAN,
KATHERINE HOLT, MARIELLA                            JOINT STIPULATION OF
COSCIA, and OLIVIA WINDER,                        TERMINATION OF CONSENT
individually and on behalf of all those            DECREE AND VOLUNTARY
similarly situated,                               DISMISSAL WITH PREJUDICE

              Plaintiffs,

        v.

GUILFORD COLLEGE AND
THOMAS PALOMBO, in his individual
capacity,

              Defendants.

        NOW COME Plaintiffs and Defendant, Guilford College, by and through counsel,

pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, and hereby

stipulate that the Consent Decree entered in this matter has terminated by its own term of

duration and the Parties are relieved of any further obligations under the Consent Decree.

The Parties further stipulate that any remaining claims in this civil action against Defendant

Guilford College are dismissed with prejudice, that no further Court involvement is

necessary, and that this civil action may be closed. Each party to bear its own costs and

fees.




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This the 17th day of June 2024.

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